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AO91(Rev.1l/11) Cri
                  minalComplaint

                               U NITED STATES D ISTRICT C OURT
                                                        forthe
                                            Southern DistrictofFlorida

              United StatesofAmerica                      )
                          V.                              )
                                                          )      CaseNo.
                  MICHAEL DENIS,                          )             20-6368-5N0W
                                                          )
                                                          )
                                                          )
                     De#ndantls)

                                       CR IM G AL C O M PLA IN T
         1,the complainantin thiscase,statethatthefollowing istruetothebestofmy know ledgeand belief.
Onoraboutthedatels)of     June7,2020toJune25,2020 inthecounty of                         Broward          inthe
   Southern    Districtof        Florida     ,thedefendantts)violated:
        CodeSection                                     OfenseDescri ption
18U.S.C.j 1344                    BankFraud
18U.S.C.j 1343                    Wire Fraud
         Thiscriminalcom plaintisba ed on thesefacts:
See attachedAmdavit.

         d Continuedontheattachedsheet  .




                                                                    F          Me .            '
                                                                               Co   ainant'
                                                                                          ssig ture

                                                                  BrandonW il
                                                                            tz,SpecialAgent U.S.SecretService
                                                                                Printed nameandtitle

Sworn to andsubscribed beforem etelephonically.


D ate:                                                                                     @
                                                                                  Judge'
                                                                                       ssignature
city and state:             Fod Lauderdale.Fl
                                            orida                  Lurana S.Snow,United States Magistrate Judge
                                                                                Printednameand title
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                    AFFIDA W T IN SU PPO RT O F CRIM INA L CO A LAINT

          1,Brandon W iltz,being firstduly sw orn, state:

                        AG EN T BA CK G RO UN D AND INTR OD UC TIO N

          1.      Iam aSpecialAgentwiththeUnitedStatesSecretService(IIUSSS'')andhavebeen
   so employed sinceJune 19,2017.lam currtntly assigned tothe South FloridaOrganized Fraud

   Task Force ($(SOFTF''), comprised of multiple federal, state,and local agencies of which
   investigatesbank fraud,wire fraud,accessdevicefraud, identitythefqfraudoffederallysponsored

   program s, and unauthorized use of other persons' inform ation for Gnancial gain. 1 have
   approxim ately 6 years of law enforcem ent experience. As a law enforcem ent officer, I have

   received training in the investigation of identity theft, w ire and m ail fraud, internet crim es,

   countedeiting currency, trafficking of illioit m aterials, counterfeit and unauthorized access

   devices,threats,assaults,and m oney laundering. I have also participated in num erous crim inal

   investigationsofvariousfraud schemesrelated to corporatefraud, financialfraud,identity thefq
   m oney laundering,tax fraud,and w irefraud.

                 Thisaffidavitismadein supportofacriminalcomplaintcharging M ichaelDenis

   (KIDENIS'')withfederalcrimesofbankfraud,inviolationofTitle18,UnhedStatesCode,Section
   1344 and w ire fraud,in violation ofTitle 18,United StatesCode, Section 1343.

          3.     This A ffidavit is based on m y personalinvestigation and investigation by others,

   including federaland locallaw enforcem entofficialswhom 1know to be reliableand trustworthy.

   The facts contained herein have been obtained by interview ing w itnesses and exam ining

   docum ents obtained in the course of the investigation as w ell as through other m eans. This

  A ffidavitdoes notinclude every factknown to m e aboutthis investigation, butratheronly those
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   factssuftk ientto establish probable cause.l

                                           PR OBABLE CAU SE

                             Overview ofthePaycheckProtectionProgram
          4.      TheCoronavirusAid,RelietlandEconomicSecurity(Q<CARES'')Actisafederal
   law enaded M arch 27,2020 to provide fnancial assistance to Am ericans suffering econom ic

   harm s from the COV 1D -19 pandem ic.0ne source ofreliefprovided through the CA RES A ctis

   theauthorization offorgivableIoansto businessesforjobretention and certain otherexpenses,
   throughaprogram calledthePaycheckProtectionProgram (çTPP'').
                  The types of businesses eligible for a PPP loan under the CARES A ct include

   individualà who operated under a sole proprietorship business structure. For the period from
   February 15,2020 through June 30,2020,such individualswere eligible to receive amaximum

   PPP loan ofup to $20,833to coverlostcompensation orincomefrom thesoleproprietorship. ln
   ordertobeeligibletoreceivesuchaPPP Ioan,individualshadtoreportand documenttheirincome
   and expenses from the sole proprietorship,as typically reported to the InternalRevenue Service

   ((<1RS'')onForm 1040,ScheduleC,foragiventaxyear.Thelendinginstitutionusedthesereports
   and docum entsto calculate the am ountofm oney the individualw asentitled to receive underthe

   PPP.

          6.      A PPP loan application m ustbe processed by a participating lender. Ifa PPP loan

   application is approved,the participating lenderfunds the PPP loan using its ow n m onies, which

   are fully guaranteed by SmallBusiness Administration (:dSBA'').Data from the application,
   including inform ation aboutthe borrow er,the totalam ountofthe loan, and the listed num ber of

   1Theconductandchargesdescribedinthisaflidavitarepartofalargerinvestigationthatisbeinjconductedinthis
  Districtandelsewhere.Asaresult,notal1numbered sourcesandanonymousindividualsandentitlesaredescribed in
  everyGling.Ihave included in thisaffidavi
                                          tonly those individualsand entitiesIhave deem ednecessaryto explain
  theparticularfactssetforth here.
                                                      2
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   employees,istransm itted by the lenderto the SBA in the courseofprocessing the loan.

          7.     PPP loanproceedsmustbeused bythebusinesson certainperm issibleexpenses-

   payrollcosts,intereston mortgages,rent,and utilities.ThePPP allowsthe interestand principal

   on the PPP loan to be entirely forgiven ifthe businessspendsthe loan proceedson these expense

   itemswithinadesignatedperiodoftimeafterreceivingtheproceedsand usesacertain amountof

   the PPP loan proceedson payrollexpenses.

               Overvlew oftheSèhemetoSubmitFraudulentPPP LoanApplications
          8.     DEN IS participated in a schem e to obtain by fraud, hundreds of thousands of
   dollarsinforgivableloansthroughthePaycheckProtectionProgram (çTPP'').DENISplannedand
   prepared severalfraudulentPPP loan applications for other com panies by recruiting confederate

   loanapplicantstoreceivekickbacksfrom thoseconfederates.To intlatethesizeofthesePPP loans

   and the cprresponding kickbacks,DENIS relied on a variety offalse statements, including by

   subm itting falsified bank statem ents and tax form s.For example,m any 'of the com panies were
   created the sam e w eek of the loan application, and never had any bank statem ents or tax

   docum entation.A num ber ofthese loansw ere approved and funded by financialinstitutions, and

   certain proceedsw ere given to DEN IS in the form ofcash kickbacks.

                 DENIS planned and preparedatleastsixteen(16)fraudulentapplications,whioh
   were submitted to aparticipating lender.Based on the evidence investigatorshave reviewed to

   date,DEN IS planned and prepared applications forfunded PPP loansthatare w orth m ore than

   $1,000,000dollars.Someofthoseloan recipientsthen paid akickback ofvarying amounts,often
   approxim ately 20-30% ofthe fraudulentloan proceeds,in cash directly to D EN IS.
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                     BackgroundOJDENIS andRelatedlndividualsandEntlties
           10. Sometime in June 2020, a confidential human sourcez (çECHS1'') met law
   enforcem entregarding an ongoing schem e to defraud theU nited Statesgovernm entusing the PPP

   loan program .CHSItold law enforcem entthatthe schem eto defraud involve: a businessnam ed

   Loyalty M ortgage & InvestmentsLLC,which advertisesthatitprovidesmortgage, incom e tax,

   insurance,public notary,credit repair,and im m igration services.Law enforcem ent determ ined

   thatLoyaltyM ortgage& InvestmentsLLC (thedtBusinessPremises'')isan activeFloridalimited
   liability company,and the registered LLC m anagersare J.G.and B.T.D .
           11.    CH SI,through phone conversations and textm essages w ith D .H .D .,an employee

   attheBusinessPrem ises,stated thatJ.G.,B.T.D .,and D .H .D . w ereactively involved in fraudulent

   applications forPPP loans.Upon further investigation, law enforcem ent determ ined that J.G.,

   B.T.D.andD.H.D.arefam ilym embersofDENIS andthattheyallwork attheBusinessPrem ises.

   CHSI added thatD .H .D .encouraged m ultiple peopleto participate in thisschem e to defraud for
                                                                                        '
                                         ,

   theirow n benefitby activating an accountw ith Bank ProcessorA 3. Once an accountiscreated by

   a prospective applicant, the inform ation is forwarded to either J.G.,B .T.D .,and D .H .D .The

   prospectiveapplicantwouldalsohavetosendadditionalpersonalidentifyinginformation(:T1I''),
   including:(1)thebackandfrontofadriver'slicense;(2)acopyofasocialsecuritycard;and(3)
   aoopy ofaFebruary2020 bankstatement.Oncetherequired information wasreceived,acontract

   w ould beprepared with an agreem entthatthepreparerwould receive 30% ofthe loan amount.

                  CH SI furtherstated thatthe businessproduced forged lRS tax docum ents,such as

   W 2's and fee schedules.This would sel've to convince a lending institution thatthe application

   2Mostoftheconfidentialhumansource'sstatementsrelatedherein havebeen corroboratedbyrecordsobtainedfrom
   thirdpartiesorrecoveredfrom theCH SI'Selectronicdevices.
   3BankProcessorA wasafinancialtechnologycompanylocated inRedwoodCity,Califom ia,thatenabledbusinesses
   to apply onlineforPPP loans.
                                                    4
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   submittedisfrom a legitimatebusiness.

          13.     CH SI provided m e w ith screenshots of loan qualifk ation am ounts from B ank

   Processor A ,which w ere fraudulent loans for fictitious business entities. These screenshots of

   qualification notices from Bank ProcessorA were sentto the CH SI to prove thatthe fraudulent

   applications do work. The aggregate amount provided by CHSI from .the screenshots is

   $800,684.00.
          14.     On Thursday,June 25,2020,a search w arrantsigned by a State ofFlorida Circuit

   CourtJudge w as executed at Business Prem ises, located in Brow ard County, Florida w here
   m ultiple computersw ere taken along with docum ents related to the business operations. During

   the execution ofthestate search w arrant,law enforcem entobserved aw orkstation with acomputer

   that displayed a list of prospective PPP applicants w ith their PIl, including addresses,social

   security numbers,contactnumbers,andestimatedapprovalamountsonitsscreen. Atleastsixteen

   (16)individuals'PlIwasonthiscomputerscreen.
          15.     Thiscom puterand w orkstation w ere identified by J.G . and B .T.D .,as belonging to

   D EN IS.J.G .and B .T.D ., the owners of the business, confirm ed that D ENIS w orked at the

   business.A lso located atDEN IS'Sworkstation w asa printoutofthe PI1thatw ason the com puter

   screen,asw ellashand-w ritten notationsnextto certain nam es,and whethertheirloanshad been

   aPproved.

               InterviewsOJPPP LoanRecèientsConfrm LoansWereFraudulentand
                           DENIS is a Knowing Participantin the Fraud

          16. Afterobtainingthesixteen(16)individuals'P1Ifrom DENIS'Sworkstation,Iwas
   ableto interview them all.These individualsstated they eitherm etw ith DEN IS orspokew ith him

   and provided DEN IS w ith theirPl1forhim to processtheirloan applications. Forthose who w ere

   approved,therecipientsstated DEN IS requested a fdkickback''of20% to 30% oftheapproved loan

                                                   5
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   am ount.DENIS requested these kickback paym ents to be m ade to him in cash. The recipients

   statedthey didnotknow w hatbusinessincom eortax inform ation D ENIS subm itted fortheirloan.4

                  The sixteen (16)individualswhoseP11wason the computerscreen atDENIS'S
   workstation and on thedocum entsatDENIS'Sworkstation confirm edthey only provided DENIS

   thePIIthatwasfoundattheworkstation.Ofthesixteen(16)individualslinterviewed,Iwasable
   tpreview documentationrelatedtothree(3)individualswhoreceivedPPP Loans(ttRecipient1,,'
   lsRecipient2,'1andSsRecipient3'3.
           18.    A 1lthree loanswere funded by Bank A .Bank A wasa federally insuredsfinancial
   institution located in Salt Lake City,Utah.Bank A w as a participating lender in SBA 'S PPP,

   authorized to lend funds to eligible borrow ers under the term s of the PPP. Bank A offered

   custom ers in Florida the ability to apply forand receive PPP loans electronically through Bank

   ProcessorA .

          19.     Bank A approved and deposited the three PPP loans into three separate personal
   bank accountsheld by Recipient 1,Recipient2,and Recipient3:

              a. Bank B records show ed thatRecipient 1 hèld an accountatBank B in hernam e.

                  BankB wasafederally insured bank located in Charlotte,North Carolina.

              b. Bank C records showed thatRecipient2 held an accountatBank C in hernam e.

                  Bank C w as a federally insured bank looated in Chen.
                                                                      y Hill,N ew Jersey.

              c. Bank D recordsshowed thatRecipient3 held an accountatBank D in..
                                                                                hername.

                  Bank D wasa federally insured bank located in M cLean,V irginia.

   4ThePPPLoanProgram usesTaxReturns(viaIRSforms)todeterminethetotalamountofmoneyloaned.
   5Themeaningofthetermççfederallyinsured''asusedinthisAffidavitisthattheentityhaddepositsinsuredbythe
   FederalDepositlnsuranceCom oratlon.
                                                    6
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          20.     After review ing the docum entation forRecipient 1,Recipient2,and Recipient3's

   PPP loans,the loans were funded asfollow s:

   Approxiniate           Claim ed Loan      Amount          Approxim ate     DepositAccotlnt
   AjplicationDate .Recipient                Funded         W ireDate         Bank
   June7,2020             Recipient1         $19,682.00      June9,2020       Bank B
   June20,2020            Recipient2         $19,997.00      June22,2020      Bank C
   June23,2020            Recipient3         $19,672.00      June25,2020      Bank D
                          Total:             $59,351.00

          21.     Each ofthethreeloan recipientsstated they knew D EN IS priorto theircontactwith
   him in June 2020.They confirm ed thatthey gave theirPI1to D EN IS,and shortly thereafter, they

   received a PPP Loan paym ent into their personalbank account.They also stated thatthey paid

   DEN IS a kickback in the form of cash.Recipient 1's nam e w as on the com puter screen and

   documentslocated atDENIS'Sworkstation with the notation ::$19,682.00 - sent''which isthe
   am ountof the PPP Loan thatw as received by Recipient 1 on June 9,2020.Rècipient2 and 3's
   nam e,date ofbirth,socialsecurity num ber,and contact inform ation were also on the computer

   screen and docum entslocated atD EN IS'Sw orkstation.

          22.     On A ugust13,2020,R ecipient1w asinterviewed by law enforcem ent.Recipient 1

   stated shewasself-employed andmadearound $1,000.00 in 2019.Sometim ein early June2020,
   Recipient1stated shem etw ith D EN IS andprovided him w ith acopy ofherdriver'slicense,social

   security card,February 2020 bank statem ent,and a blank signed check from herpersonalbank

   accountin orderto obtain a loan.Recipient 1 stated she did notprovideD EN IS w ith any IRS tax
                                                                                           .




   docum ents.A s required for a PPP Ioan,Recipient 1 never provided DEN IS w ith a copy ofher
   Form 1040 Schedule C.Recipient 1 did notsubm itany PPP Loan application herself.On June 9,

   2020,Recipient1received adepositfrom Bank A in theamountof$19,682.00 into herBank B
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   account.Shortly thereafter,DENIS requested Recipient1to pay him a$4,000.00 cash kickbaok
   forprocessingherloanand Recipient1paid DENIS $4,000.00 cash.Recipient1stated shenever
   signed any paperwork related to thisPPP loan,and did notlcnow thisloan w aspartofthe PPP loan

   program .Recipient 1 stated she did not give DEN IS authorization to sign her nam e on any

   documents.

                 On August12,2020,Recipient2 w asinterview ed by 1aw enforcem ent.Recipient2

   stated she was employed ata family homecare business,located in Davie,Florida and waspaid

   about$15,000.00 in 2019.Som etime in early June2020,Recipient2 stated sheprovidedDENIS
   w ith acopy ofherdriver'slicense,socialsecurity card,February 2020 bank statem ent,and ablank

   signed check from herpersonalbank accountin orderto obtain a loan.Recipient2 stated she did

   notprovide DEN IS w ith any IRS tax docum ents.A s rtquired for a PPP loan,R ecipient2 never

   provided DEN IS w ith a copy ofa Form 1040 Schedule C.Atthetim e ofthe application,Recipient

   2 did notow n any businesses.Recipient2 created an accountw ith Bank ProcessorA and provided
   thatinform ation to DEN IS.O n June20,2020,Recipient2 received an e-m ailfrom Bank Processor
       .                                                                                 '

   A thatherPPP loan application had been successfully subm itted,although she did notsubm itany

   application herself.On June 22,2020,Recipient2 received a depositfrom Bank A in the am ount

   of$19,977.00 inherBank C account.Shortly thçreafter,DENIS requested Recipient2topayhim
   a $3,000.00 cash kickback for processing her fraudulent loan,and Recipient 2 paid DEM S
   $3,000.00 cash.Recipient2 stated sheneversigned any paperwork related to thisPPP loan,and
   did notknow this loan was partof the PPP loan program .Recipient2 stated she did not give

   DENIS authorization to sign hernam e on any docum ents.

                 On A ugust11,2020,R ecipient3 w asinterview ed by 1aw enforcem ent.R ecipient3

   stated shewas a self-employed and made around $15,000.00 in 2019.Sometime in early June
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   2020,Recipient3 stated she provided DEN IS w ith a copy ofherdriver's licensp,socialseourity

   card,February2020 bank statement,and ablank signed check from herpersonalbank accountin

   orderto obtain a loan.Recipient3 stated she did notprovideDEN IS w ith any IR S tax docum ents.
                                                                                 .




   Asrequired fora èPP loan,Recipient3 neverprovided DENIS with acopy ofaForm 1040
   ScheduleC.Reoipient3 creAted an accountwith Bank ProcessorA and providedthatinformation

   to DENIS.On June 23,2020,R ecipient3 received an e-m ailfrom Bank ProcessorA thatherPPP

   loan application had been successfully subm itted,although she did not subm it any application

   herself.OnJune25,2020,Recipient3receivedadepositfrom BankA intheamountof$19,672.00
   in herBank D account.DENIS requested Recipient3 to pay him a$3,000.00 cash kickback for
   processing herfraudulentloan,and Recipient3 paid DENIS $3,000.00 cash.Recipient3 stated
   she never signed any paperwork related to thisPPP loan,and did notknow this loan was partof

   thePPP loan program .Recipient3 stated she did notgive DEN IS authorization to sign hernam e

   on any docum ents.
                                             Conclusion

                 Based on my training and experience, and the inform ation provided in this

   Affidavit,Irespectfully subm itthatthere isprobable cause to believe that:

                 On or aboutJune 7,2020,in the Southern D istrict of Florida and elsewhere,the
                 defendant,M ICHAEL D EN IS,did know ingly,and w ith intentto defraud,execute,
                 and attem ptto execute,and causethe execution of,a schem eand artifce to defraud
                 a financial institution,which schem e and artifice em ployed a m aterialfalsehood,
                 and did know ingly,and w ith intentto defraud,execute,and attem ptto execute,and
                 causetheexecution ofa schem eand artificeto obtain m oneysand fundsow ned by,
                 and underthe custody and controlofa inancialinstitution,by m eans offalse and
                 fraudulentpretenses,representations,and prom isesrelating to a m aterialfact,that
                 is,by causingBankA todeposit$19,682.00intoanaccountcontrolledbyRecipient
                 1,in violation ofTitle 18,U nited StatesCodé,Section 1344 and 2.

                 On or aboutJune 20,2020,in the Southern D istrictofFlorida and elsewhere,the
                 defendant,M ICH AEL DEN IS,did know ingly,and w ith intentto defraud,execute,
                 and attemptto execute,and causethe execution of,a schem eand artificeto defraud
                                                  9
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               a financial institution,which schem e and artitk e em ployed a m aterialfalsehood,
               anddid knowingly,andwithintenttodefraud,execute,andattempttoexecute,and
                                                                                     .

               cause the execution ofa schem e and artifice to obtain m oneysand fundsowned by,
               and underthe custody and oontrolof a Enanoialinstitution,by m eans offalse and
               fraudulentpretenses,representations,andpromisesrelating to amaterialfact,that
               is,by causing BankA todeposit$19,997.00 intotheBank C accountcontrolledby
               Recipient2,in violation ofTitle 18,United States Code,Section 1344 and 2.

               On oraboutJune 23,2020,in the Southern DistrictofFlorida and elsewhere,the
               defendant,M ICHA EL DEN IS,did know ingly,and w ith intentto defraud,execute,
               and attem ptto execute,and causethe execution of,a schem e and artificeto defraud
               a tinancialinstitution,which schem e and artifice em ployed a m aterialfalsehood,
               and did know ingly,and w ith intentto defraud,execute,and attem ptto execute, and
               cause the execution ofa schem e and artifice to obtain m oneysand fundsow ned by;
               and underthe custody and controlof a financialinstitution,by m eans offalse and
               fraudulentpretenses,representations,and prom isesrelating to a m aterialfact,that
               is,bycausingBankA todeposit$19,672.00 intotheBankD accountcontrolledby
               Recipient3,in violation ofTitle 18,United States Code,Section 1344 and 2.

            @ On or about June 9,2020, in the Southern D istrict of Florida and elsewhere,
              M ICH AEL D EN IS,having devised and intending to devise a schem e and artifice
              todefraud,and forobtainingmoney andpropertybymeansoffalseand fraudulent
              pretenses,representations,and prom ises,know ingly transm itted and caused to be
              transm itted by m eansofwire,radio,and television comm unication in interstate and
              foreign com m erce,w ritings,signs,signals,pictures,and sounds,forthepurposeof
              executing such schem e and artifce,which affected a tinancialinstitution,to w it:
              DEN IS engaged in a schem e to obtain hundreds of thousands of dollars in
              forgivable loansthrough thePPP byplanning orpreparing anumberoffraudulent
              PPP loan applications for other com panies by recruiting confederate loan
              applicants,in orderto receive kickbacksfrom those confederates by m eansoffalse
              and fraudulentpretenses,representations,and docum entstransm itted into and out
              ofthe Southern D istrictofFlorida,which caused a w ire transfer in the am ountof
               $19,682.00 from Bank A totheBankB accountbelongingto Recipient1,causing
               a w ire transm ission into and outofthe Southern D istrictofFlorida,in violation of
               Title 18,U nited States Code,Sections 1343 and 2.

               On or about June 22,2020, in the Southern D istrict of Florida and elsewhere,
               M ICH AEL D ENIS,having devised and intending to devise a schem e and artifice
               to defraud,and forobtaining m oney and property by m eansoffalse and fraudulent
               pretenses,representations,and prom ises,knowingly transm itted and caused to be
               transm itted by m eansofw ire,radio,and television com m unication in interstate and
               foreign com m erce,writings,signs,signals,pictures,and sounds,forthe purpose of
               executing such schem e and artitk e,which affected a financialinstitution,to w it:
               DEN IS engaged in a schem e to obtain hundreds of thousands of dollars in
               forgivable loansthrough the PPP by planning orpreparing a num beroffraudulent
               PPP loan applications for other companies by recruiting confederate loan

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                applicants,in orderto receivekickbacksfrom thoseconfederatesbymeansoffalse
                and fraudulentpretenses,representations,and documentstransm itted into and out
                ofthe Southern D istrictofFlorida,which caused a w ire transfer in the am ountof
                $192997.00 from Bank A to theBank C accountbelongingto Recipient2,causing
                aw lre transm ission into and outofthe Southel'
                                                              n D istrictofFlorida,in violation of
                Title 18,United StatesCode,Sections 1343 and 2.

             @ On or aboutJune 25,2020,in the Southern D istrictof Florida and elsewhere,
               M ICHAEL DENIS,having devised and intending to devise aschemeand artifke
               to defraud,and forobtaining m oney and property by m eansoffalse and fraudulent
               pretenses,representations,and prom ises,know ingly transm itted and caused to be
               transm itted by m eansofw ire,radio,and television com m unication in interstateand
               foreign com m erce,writings,signs,signals,pictures,and sounds,forthepurposeof
               executing such schem e and artifice,which affected a Gnancialinstitution,to wit:
               DENIS engaged in a scheme to obtain hundreds of thousands of dollars in
               forgivable loans through the PPP by planning orpreparing a num beroffraudulent
               PPP loan applications for other com panies by recruiting confederate loan
               applicants,in orderto receivekickbacksfrom those confederatesby m eansoffalse
               and fraudulentpretenses,representations,and docum entstransm itted into and out
               ofthe Southem DistrictofFlorida,which caused awiretransferin the am ountof
                $192672.00 from Bank A to theBank D accountbelongingto Recipient3,causing
                a w lre transm ission ,into and outofthe Southern D istrictofFlorida,in violation of
                Title 18,U nited States Code,Sections 1343 and 2.

   FU RTH ER Y OU R AFFIAN T SA YETH N AU GHT.

                                                 F           w     .J?J .
                                              SpecialA gentBrandon W iltz
                                              United States SecretService

    Swornand subscribedbeforemetelephonicallythis 18th day ofAugust, 2020.



     RANA S.SN OW
                     Z
   UN ITED STATES M AGISTRATE JUD GE
                                                 11
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                            U NITED STA TES D ISTRICT C OUR T
                            SO UTH ER N DISTRICT O F FL ORIDA

                                         CaseN o.20-6368-5N 0W
   UN ITED STA TES O F AM ERICA



   Y CH AEL DENIS
                Defendant.
                                     /

                                   CRIO N AL C OV ER SH EET
        D id thism atteroriginate from a m atterpending in the CentralRegion ofthe United States
        Attorney'sOfficepriortoAugust9,2013(Mag.JudgeAliciaValle)?               -  Yes X No
   2.   Didthismatteroriginatefrom am atterpending intheNorthernRegionoftheUnitedStates
        Attomey'sOfûcepriortoAugust8,2014(Mag.JudgeShaniekM aynard)? - Yes X N o
        D id thism atteroriginate from a m atterpending in the CentralRegion ofthe United States
        Attorney'sOffcepriortoOctober3,2019(Mag.JudgeJaredM .Strauss)?           - -   xes X No
                                                    Respectfully subm itted,

                                                    ARIAN A FA JARD O ORSHAN
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